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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            Chief Judge Philip A. Brimmer

Criminal Case No. 24-cr-00326-PAB-5

UNITED STATES OF AMERICA,

       Plaintiff,

v.

5.   JOSE ARTURO GARCIA-SANCHEZ,

       Defendant.


                                          ORDER


       This matter is before the Court on the government=s Emergency Motion for Stay

and Revocation of Release Order [Docket No. 18].       On November 7, 2024, an

indictment was filed against the defendant in this District.   Docket No. 1. An arrest

warrant was issued for defendant on the same date.       Docket No. 6. Defendant was

arrested on the warrant in Texas and had his initial appearance on November 21, 2024.

Docket No. 18 at 2. On December 3, 2024, the defendant had a contested identity

hearing and detention hearing before Magistrate Judge Miguel A. Torres in the Western

District of Texas. Id. Magistrate Judge Torres ordered that defendant be released on

bond with conditions. Id.    The U.S. Attorney’s Office for the Western District of Texas

orally moved to stay Magistrate Judge Torres’ order so the U.S. Attorney’s Office in the

District of Colorado could file a motion for revocation of the release order.   Id.

       The government seeks a stay from this Court in order to conduct a detention

hearing pursuant to 18 U.S.C. ' 3145(a)(1) before the defendant is released.          Docket
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No. 18.     The government proffers information in its motion in support of a stay. Id. at

4-9.

          Pursuant to 18 U.S.C. ' 3145(a)(1), this Court has Aoriginal jurisdiction over the

offense@ and therefore the government=s motion for revocation of the magistrate judge=s

order is properly before this Court as opposed to a judge in the Western District of

Texas.      See United States v. Cisneros, 328 F.3d 610, 615 (10th Cir. 2003) (motion for

review of a release order Ashould be considered and ruled upon . . . by a district judge in

the court of original jurisdiction@).

          Upon review of the government=s proffer, the Court finds that the government has

demonstrated good cause to stay the December 3, 2024 order of Magistrate Judge

Torres releasing the defendant on bond.        It is therefore

          ORDERED that the portion of government=s Emergency Motion for Stay and

Revocation of Release Order that seeks a stay [Docket No. 18] is GRANTED.            It is

further

          ORDERED that the December 3, 2024 release order of Magistrate Judge Miguel

A. Torres is stayed until further order of the Court.    It is further

          ORDERED that the government shall file the transcript of the December 3, 2024

detention hearing in the U.S. District Court for the Western District of Texas on or before

December 5, 2024.        It is further

          ORDERED that the U.S. Marshals Service shall transfer the defendant to the

District of Colorado by December 11, 2024. It is further




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       ORDERED that, once the defendant is transferred to the District of Colorado and

an attorney is appointed for the defendant, the Court will provide a deadline for the

defendant to respond to the motion for revocation of release.


       DATED December 4, 2024.

                                          BY THE COURT:



                                          PHILIP A. BRIMMER
                                          Chief United States District Judge




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